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                                                                                         03/22/2018
                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

  ELIZABETH SINES, et al.,                      )
       Plaintiffs,                              )       Civil Action No. 3:17cv00072
                                                )
  v.                                            )       ORDER
                                                )
  JASON KESSLER, et al.,                        )       By:    Joel C. Hoppe
       Defendants.                              )       United States Magistrate Judge

         This matter is before the Court on Defendant Michael Peinovich’s Motion for a gag order

  and sanctions against Plaintiffs’ counsel Roberta Kaplan. ECF No. 258. The motion is before me

  by referral under 28 U.S.C. § 636(b)(1)(A), and can be resolved without further briefing or

  argument. ECF No. 101; Pls.’ Resp. in Opp’n, ECF No. 273. Mr. Peinovich, appearing pro se,

  alleges that Ms. Kaplan “has been conducting an aggressive campaign” in public and on social

  media through which she has “repeatedly . . . disparag[ed] the defendants” and presented the case

  “in a tendentious, non-neutral, pro-plaintiff light.” Peinovich Mot. 1. He asks the Court to

  exercise its “inherent authority” to sanction Ms. Kaplan’s extrajudicial statements by dismissing

  the Amended Complaint, or, in the alternative, to issue a pretrial order directing counsel “to

  cease her publicity campaign against the defendants.” Id. at 16, 18 (citing Fed. R. Civ. P.

  16(c)(2)(P)). Plaintiffs respond that Ms. Kaplan’s public comments about this case “have all

  been consistent with the norms of attorney speech” in civil proceedings, as well as with her

  professional “duty of zealous advocacy on behalf of the men and women she represents.” Pls.’

  Resp. in Opp’n 1.

         Federal courts do “have inherent power” to sanction a party or its counsel for misconduct

  “that offends the legal process.” Am. Sci. & Eng’g, Inc. v. Autoclear, LLC, 606 F. Supp. 2d 617,

  620 (E.D. Va. 2008) (citing Chambers v. NASCO, Inc., 501 U.S. 32, 46 (1991)). “Because of



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  their very potency,” however, such “inherent powers must be exercised with restraint and

  discretion,” and usually only after the court determines that no applicable statutes or rules “are

  up to the task,” Chambers, 501 U.S. at 50. See, e.g., 28 U.S.C. § 1927; Fed. R. Civ. P. 11(c),

  37(e); W.D. Va. Gen. R. 6(h). “Discretion includes crafting a sanction appropriate to remedy the

  harm caused by a party’s abuse of the judicial process,” Beach Mart, Inc., v. L&L Wings, Inc.,

  302 F.R.D. 396, 406 (E.D.N.C. 2014), “and then only to the extent necessary” to achieve that

  end, United States v. Shaffer Equip. Co., 11 F.3d 450, 461 (4th Cir. 1993). Dismissing an action

  is “the most extreme sanction” available and should be reserved for when a party or counsel

  “deceives [the] court or abuses the process at a level that is utterly inconsistent with the orderly

  administration of justice or undermines the integrity of the process.” Shaffer Equip. Co., 11 F.3d

  at 462. Here, while it is clear that Mr. Peinovich takes umbrage at Ms. Kaplan’s public

  comments about this case, the Court is not persuaded that counsel contravened any applicable

  statute or rule—let alone that Ms. Kaplan’s statements might justify dismissing her clients’

  lawsuit. See id. at 462–63 (outlining the six factors a court must consider before dismissing an

  action, and “recognizing that we seldom dismiss claims against blameless clients”).

         Mr. Peinovich is also correct that federal courts often issue pretrial orders to “facilitat[e]

  the just, speedy, and inexpensive disposition of [an] action,” Fed. R. Civ. P. 16(c)(2)(P), such as

  the one already issued in this case, ECF No. 101. But “[b]road gag orders” like the one Mr.

  Peinovich asks for here “are restraints on expression and raise First Amendment concerns.”

  United States ex rel. Davis v. Prince, 753 F. Supp. 2d 561, 568 (E.D. Va. 2010); cf. Hirschkop v.

  Snead, 594 F.2d 356, 373 (4th Cir. 1979) (en banc) (holding that portions of Virginia Supreme

  Court’s rule restricting attorneys’ extrajudicial comments about pending civil litigation violated

  the First and Fourteenth Amendments). “In the Fourth Circuit, district courts may restrict



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  extrajudicial statements by parties and counsel only if those comments present a ‘reasonable

  likelihood’ of prejudicing a fair trial,” such as by tainting the jury pool. Prince, 753 F. Supp. 2d

  at 568 (quoting In re Russell, 726 F.2d 1007, 1010 (4th Cir. 1984)); see Am. Sci. & Eng’g, 606 F.

  Supp. 2d at 625–26 (“Courts may disallow prejudicial extrajudicial statements by [civil] litigants

  that risk tainting or biasing the jury pool.”). Although Mr. Peinovich contends that Ms. Kaplan’s

  public statements have “fatally undermined” his “right . . . to a fair trial in this case,” Peinovich

  Mot. 18, “nothing presented thus far suggests” counsel’s statements “present a ‘reasonable

  likelihood’ of tainting the jury pool,” Prince, 753 F. Supp.2d at 568. Notably, Ms. Kaplan’s

  comments do not directly attribute any of the third-party statements, of which Mr. Peinovich

  objects, to the Defendants, and restating a Defendant’s own public comments, as in the case of

  Matthew Heimbach, cannot be considered unfairly prejudicial.

         Accordingly, Defendant Peinovich’s motion, ECF No. 258, is hereby DENIED.

         It is so ORDERED.

         The Clerk shall deliver a copy of this Order to counsel of record and to Defendant

  Peinovich.

                                                 ENTER: March 22, 2018



                                                 Joel C. Hoppe
                                                 United States Magistrate Judge




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